Case 3:18-bl<-01164-.]AF Doc 41 Filed 05/01/18 Page 1 of 12

UNITED STATES BANKRUP'I'CY COURT
l\’llDDLE DlSTRICT OF FLORIDA
JACKSONV|LLE DlVlSlOl\l

w»\-'w.t]inl).uscourt's.n,:nv

ln re: CASE NO. 3:18-bk-01]64-JAF
EIHAB H. TAVVFIK, M.D., P.A., CHAPTER 1]

Debtor.
/

 

VER[FIEI) lV|OTION TO EXCUSE DEBTOR FROM
APPOINTMENT OF PATIENT CARE OMBUDSMAN

EIHAB H. TA\VFIK, M.D., P.A., the debtor and debtor in possession in the above-
captioned case (the "Debtor”), by and through its undersigned counsel, pursuant to Seetion 333(a) 01"
title ll of the United States Code (the “Banl<ruptCy Code”) and Rule 2007.2 of the F ederal Rules of
Banlqruptcy Proeedure (the “Bankmptcy Rules”), and in response to the Couit’s Notice Regarding
the Appointinent ot`a Patient Care Ombudsman (Doc. No. 22), hereby files this motion for entry of
an order determining that appointment of a patient care ombudsman l"or the Debtor is not required at
this time ln support of this motion, the Debtor states as follows:

General Baekground

l . On Apri l l l, 20l 8 (the L‘Petition Date"), the Debtortiled a voluntary petition for relief
under chapter l l of the Banltruptey Code. The Debtor is continuing in possession of its propeity and
management of its business as a debtor in possession pursuant to sections 1107 and l 108 of the
Bankruptcy Code. As of the date of this motion, no official committee of unsecured creditors has
been appointed

2. T he Debtor owns and operates medical clinics in live locations in the Centra.l Florida
area. Those locations are located in Ciystal River (2 locations). Celebration, Ocala. and Sprin g l-_l ill
(collecti\'eiy the "Clinics"). The Clinics provide ambulatory care to patients with services ineluding,

but not limited to, internal mcdicine, urgent care, cardiology, diabetes treatment, podiatry, Full
l

Case 3:18-bl<-01164-.]AF Doc 41 Filed 05/01/18 Page 2 of 12

imaging services and pain management The Debtor employs 4 doctors_; l physician’s assistant, 10
medical assistants, six medical technicians, 3 medical supervisors, and 10 administrative staft`.
Patient records are stored at Debtor’s principal place of business located atl 73 94 West Gulf to Lake
Highway, C.rystal River, Florida 34429 and are also stored electronically by eCliiiicalWorks, the
leading provider for cloud-based electronic health record software in the healthcare industry.

3. The Debtor’s business and revenue is generated from claims submitted to Medicare
(60% of revenue`), Medicaid (30% of r'evenue) and private insurance (10% of revenue).

4. As of the Petition Date, the Debtor was in compliance with all applicable health
regulations, and had no complaints or issues regarding patient care The reason for the Debtor`s
bankruptcy filing was completely unrelated to the level of patient care provided by the Surgical
Center.

Reasons for Filing Bankrul)tcv

5. To support the growth of its medical practice, the Debtor took out secured loans from
various creditors to purchase certain medical equipment and machinery The Debtor also guaranteed
various loan obligations related to the purchase of real estate owned by its afliliated companies In
2017, l\/ledicare commenced a challenge to certain billing codes entered by the Debtor with respect to
claims submitted for the prior few years As a result, Medicare began offsetting the claims that the
Debtor was attempting to process throuin l\/ledicare from late 20l 7 through the Petition Date. This
setoff had a significant negative impact on the Debtor’s revenue stream_, cutting it by as much as
60%.

6. As a direct result, the Debtor became delinquent with its secured and unsecured
lenders These lenders subsequently tilcd various lawsuits against the chtor and other non-debtor
entities and individuals ln one such lawsuit, Central Bank obtained a replevin order allowing it to

begin the process ol` taking possession of Debtor’s medical equipment which also served as

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 3 of 12

collateral to Central Bank’s $2,600,000.00 loans. Because the Debtor could not provide patient care
without its medical equipment1 Debtor tiled the instant bankruptcy case to preserve the going
concern value ot` its operations for the benefit of its estate and creditors

AR.'LLC§M

7. A,ppointment of a patient care ombudsman is within the Court's discretionl Section
333(a)(l) ot` the Bankruptcy Code provides that “[i]fthe debtor . . . is a health care business, the
court shall ordcr, not later than 30 days after the commencement of the case, the appointment of an
ombudsman to monitor the quality of patient care and to represent the interests ol` the patients ot`the
health care business unless the court finds that the appointment o/"si.ich oiiibiidsnmn is nor necessary
for the protection t)_/`;)cilz`en/s under the spec.'i'fi`c’_}‘iicts oftlie case." l l U.S.C. § 333(a)( !) (eniphasis
added).

8. W hile neither the Bankruptcy Code nor Bankruptcy Rules provide guidance for a
bankruptcy court’s analysis ot` whether the appointment of a patient care ombudsman is necessary
courts have developed and applied a totality ot`tlie circumstances approach to determine Whetlier an
ombudsman is necessary and in doing so evaluate nine non-exclusive factors, including:

(i) the cause ot the bankruptcy;

(ii) the presence and role of licensing or supervising entities;

(iii') the debtor’s past histoiy of patient care;

(iv) the ability of the patients to protect their ri glits;

(v) the level o't` dependency of the patients on the facility;

(vi) thc likelihood ot` tension between the interests of the patients and the debtor;
(vii) the potential injury to the patients it`tlie debtor drastically reduced its level ot"patient

care;

(viii) the presence and sufficiency ot internal safeguards to ensure appropriate level ot`care;
and;

(_ix) the impact of the cost of an ombudsman on the likelihood ot` a successful
reorganization

In re /l]rr»i')inte Fmiii/_i' Cai'e, 377 B.R. 754, 758 (Bankr. S.D. Fla. 2007) (tiiidirig a patient care
ombudsman not necessary for a slate licensed child placing and eating agency under the l`aets ol`tlic

case); see also 111 re Per/ini‘ri`r‘s al W/il'r‘loC/t, [’.C."., 507 B.R. lO, ll-l3 (Baii.l{r. N.D. Ga. 2014)
3

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 4 of 12

(appointment of patient care ombudsman unnecessary because (_a) the debtor’s bankruptcy was not
predicated on deficiencies in patient care, (b) there was no tension between the debtor’s interests
With its patients’ interests because a decline in patient care would injure the facility’s reputation
leading to lower referrals and revenue, and (c) the cost would outweigh the value of air ombudsman);
I/i re Wi'![i`am L. Sc/ber, ]l/[.D.. P.C., 369 B.R. 631, 637-38 (Bankr. D. Colo, 2007) (finding
appointment of an ombudsman unnecessary for the debtor given that the debtor’s bankruptcy filing
was not precipitated by concerns relating to the quality ofpaticnt care); lri re Va/r’ey Hea{rh Sysreirr,
381 B.R. 756, 762 (Bankr. C.D. Cal, 2008) (holding that appointment ofa patient care ombudsman
was unnecessary considering the totality of the facts and circumstances even though patients were
dependent on the debtor and would be injured if the debtor reduced its level of patient care).
Appointrnent of a Patient Care ()ml)gdsman is Not Warranted Un(_lg the Facts of this Case

9. 4 Applying the ,4[!€)')1¢¢/€. Fa/)t.if\) Cm'e factors to the facts of the instant Case, it is clear
that the appointment ot"a patient care ombudsman under section 333 of the Bankruptcy Code is not
necessary

l(l. Fi!‘sl`. the chtoi"s chapter l l filing Was irot "precipitatcd by concerns relating to the
quality of patient care or privacy matters.’7 Sabcr, 369 B.R. at 637. Rather, the Debtor sought relief
primarily due, among other thin gs, to the burden of debt service obligations and recent reductions in
government reimbursement for the Debtor’s high proportion of Medieare services Sec l/'alle_i) Health
iii/stena 381 B.R. at 759 (frnding ombudsman unnecessary in ease precipitated by the burden of
servicing bond debt).

l l . Ser'ond, the Debtor is subject to extensive oversight by multiple government agencies
and professional associations thus there is no need for additional oversight For example, the Debtor
is required by the United States Depai'tinent of Hea|th and l‘luman Seivices and the Florida

Departinent ot`llealth to maintain a particular quality ofpatient care. See Norr/i S/io/'e, 400 B.R. at

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 5 of 12

13 (Department ofHealth monitoring weighed against appointment ol" an ombudsman). Moreover,
because |\/ledica,re and l\/lcdicaid reimbursements are essential to the Debtor’s operations1 the Debtor
is required to maintain, and has an incentive to continue maintaining its certification with thc Centers
for Medicare and Medicaid Services (CMS), which requires compliance with the conditions of
participation relating to, among other things, quality ot`care.

l?_. Thi`rd, historically_, the Debtor has received relatively few patient complaints in
comparison to the number oi" patients it services See Nr)rt/z Slw)~e, 400 B.R. at 13 (debtor"s history of
high quality of` patient care and minimal patient complaints weighed against appointment of`
ombudsman). In f`act_. the Debtor has received one patient complaint since the Debtor’S formation in
2005, Whicli is particularly notable in light of the number ot` patients it has served That oompliant
was Subniitted to the Florida Departmcnt ofHealth in 20{ l and Was promptly addressed Since 201 l,
no complaints have been filed with the Florida Department ofHealth with respect to Debtor’s patient
care services

l3. Fr)r¢/'//i` the chtor’s patients are able to protect their rights despite thc Debtor’s
bankruptcy filing because the patients’ primary relationship is Wit.h the treating physicians (who are
not in bankruptcy), not the Debtor. Tlie Debtor merely provides the facilities, nurses, and technicians
used by the various treating physicians Thus, the patients are able to protect their rights viz a viz
their physicians despite the Debt'or"s bankruptcy filing

14. Fi/l/i, like the fourth factor, this factor weighs in favor of not appointing an
ombudsman because patients are not dependent upon the Debtor’s facilities Debtor provides
ambulatory care, not long-term patient care which requires overnight stays Accordingly, any
dependency on the Debtor’s facilities is relatively minimal.

15. Si.t't/i, it is unlikely that the interests ot` the Debtor and its patients Will diverge

tln‘oughout the pendency ol` this case. All parties` interests are aligned in seeking a successful

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 6 of 12

reorganization of the Debtor in an expeditious manner so that the Debtor can continue serving the
community Furthemiore, the Debtor has an interest is providing top quality patient care in order to
maintain the Debtor`s high standing reputation, which leads to increased revenue and successful
business operations See Pecir'arrr'cs ar Whrir/ock, 507 B.R. l(.l, l l-l 3 (debtor"s interest in preserving
patient care to preserve future revenues favored not appointing ombudsman). The Debtor intends to
maintain its current high level of patient care throughout the pendency of this case, and will not
compromise such standards to effectuate its reorganization Thus, there is simply no reason to
believe the .chtor’s interests Will become adverse to that of its patients during the pendency of this
bankruptcy case.

l(). Seve/rt/r, as previously stated, because there is no reason to believe the Debtor’s level
ofpatient care will decline because ofits bankruptcy tiling, the Debtor does not believe this factor
applies

17. Eig/rr]i, the Debtor has internal safeguards in place for patient safety and car'e, and, as
stated previously, must comply with all applicable state and federal regulations Thc Debtor has
multiple binders full of written policies and procedures for infection control and patient safety
These procedures ensure the Debtor, and its staff, comply with all applicable state and federal
regulations Evidencing the effectiveness of its internal policies and procedures, as noted above,
chtor has received few patient complaints and no infraction notifications from any regulatory body
since 2005. Thus, in light of the effective policies and procedures currently in place and the high
quality of Debtor’s existing patient car'e` Debtor submits that this factor weighs against the
appointment ol` an ombudsman

18_ Nr`nrh, the substantial expense associated with appointing an ombudsman would
deplete estate resources1 particularly where any such ombudsman `s efforts would be duplicative of

the existing internal safeguards and external governmental oversight and regulations already in place

6

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 7 of 12

Tlier'efor'e, in light ofthc fees that would be incurred by any ombudsman or professionals retained by
such ombudsman, an ombudsman would only serve to reduce the Debtor’s estate to the detriment of
Debtcr’s patients, creditors and parties in interest, and would be unlikely to contribute additional
services that would enhance patient health and safety See Vn//e_v Healt/i S_vslem, 381 B.R. at 764-65
(ombudsrnan would duplicate debtor’s internal monitor and external state monitoring); A!ternate
anir,:v Care, 377 B.R. at 761 (ombudsman costs could preclude reorganization:).

19. Dr. Eihab H. Tawfrk, M.D. has reviewed and verifies the truth of the contents of this
l\/lotion by affidavit included herewith

WHEREFORE, the Debtor respectfully requests the Court enter an order finding and
ordering the appointment ot`a patient care ombudsman unnecessary under the facts of this case, and
providing such other relief as is just and proper under the circumstances

{R‘

RESPECTFULLY SUBMITTED this grid/day ofl\/lay 2018.

/S/ Justin l\/l. Luna

Justin M. Lurra, Esq.

Florida Bar No. 0037131
jluna(¢:il,'lseblaw,com

Daniel A. Velasquez, Esq.
Florida BarNo. 0098158

dvelas uez tr;lseblaw.corn
LATr~rAM, SHUKER, Er)r;r\i & BEAUDINE, LLP
bknotice(tzllsebla\i'.ct)m

lll N. l\/Iagnolia Ave., Suite 1400
Orlando, Florida 32801
Telephone: 407-481-5800
Facsimile: 407-481-5801

A tlr)rne__v.r'/i)r the Debr‘o/‘

 

 

Case 3:18-b1<-01164-.]AF Doc 41 Filed 05/01/18 Page 8 of 12

vERIFrCATIoN
sTATE oF FLORIDA )

)
CoUNTY oF( ,Z/-rr )

Before me, the undersigned authority, duly authorized to administer oaths and take
acknowledgments, personally appeared Dr. Eihab H. Tawt`rl<, l\/[.D. (“Affrant”)_, who, after being first
duly sworn, deposes and says that Aftiant is the sole `Member, Manager and Medieal Director of
Eihab H. Tawl`rk, M.D. P.A. (the "Debtor”), and that, in such capacity, Afliant has authority to make
this verification on behalf of the Dehtor; that Afiiant declares under penalty of perjury that Afiiant
has read the Verifred Motion and states that the facts and matters alleged and contained therein are
true and correct; and that the Al`tiaiit has made this affidavit either upon his own personal knowledge
of the chtor`s operations and procedures

EIHAB H. TAWFIK, M.D., P.A.

 

Dr. Eihab l~l.' Tawfrk
lts: Managing l\/Iember

STATE OF FLORIDA )

)
COUNTY on gm , § )

Sworn to and subscribed before me this§]L day of `. , 2018 by Dr. Eihab H.

Tawfik, on behalf of Eihab H. Tawfrk, M.D., P.A.,“l-_"'l' Wbo produced
as proper identification, and who did take an oath, and swears that the foregoing

if do hamm iia/saline
th’ary Public, ate of Florida ._

Printed Name,::l>>.¥§moc§!\ (_,O~rd;).t/°\
Commission .Expires: \

Commission No.;_§_'\:_\$§\_f:)_g@__

  

 

 

is true and correct

  
  

   
 

n N t D:BORAH CORDEN
-= o ary ubtic - State of F|ori -
o= da
'_. My Camnr. Exptres Dec 21, 2018
Commrssion # FF 154020 '
edthwugh Natlonat Nota'y Assn.'
§

      
    
 

Case 3:18-bk-01164-.]AF Doc 41 Filed 05/01/18 Page 9 of 12

UN!TED STATES BANKRUPTCY COURT
WIIDDLE DlSTRlCT OF FLORIDA
JACKSONVILLE DIVISION
www.i`lml).uscourts. ov

 

In re: CASE NO. 3:18-bk-0]164-JAF
El_HAB H. "l`AWF] K, M.D., P.A., CHAPTE`R ll

Debtor.

 

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true copy of the forgoing VERIFIED M()TION TO

EXCUSE DEBTOR FROM APPOINTMENT OF PATIENT CARE OMBUDSMAN has been

furnished either electronically and/or by U.S. First Class, postage prepaid mail to: EIHAB H.

TAWFIK, M.D., P.A., c/o Eihab H. Tawt`ik, 739/1 West Gulf to Lake Highway, Crystal River,

Florida 34429; CENTRAL BANK, c/o Megan W. Murray, Esq., 101 E. Kennedy Blvd., Suite 1700,

Tanipa, Florida 33602 (_mwmurrag'&»-'trenam.com); IBERIABANK c/'o Michael S. Waskiewicz,

Esq., 50 North Laura Street, Suite 3000, Jacksonville, F]orida 32202 (mwasl<iewiez(é£eburiM);
National Radiology Solut'ions Group, PLLC, J. Ben Vitale, 904(1 Town Center Parkway,
Lal<ewood Ranch` Florida 34202, b\~'itale(Za\/italeilirm.com; Navitas Credit Corp., c/o `Eric B.
Zwiebel, Esq., 7900 Peters Road, Building B, Suite 100, Plantation, Florida 33324; Colonial Funding

Network, lnc.. c/o Donald R. Kirk, 4221 W. Bo_v Scout Blvd., Suite 1000, Tampa, Florida 33607,

d ki rl<r”t`i§gearl

 

Washington Street_ Suite 1 100, Orlando, Florida 32801_ on this ["* day ofMay 2018

/s/ .lustin M. Luna
Justin M. Luna, Esq.

tontields.com; all creditors and interested parties as shown on the matrix attached hereto,
and the UNITED STATES TRUSTEE - .lAXll, Office ot` the United States Trustee, 400 W.

CaSe 3218-bk-01164-.]AF DOC 41 Filed 05/01/18

Label Matrix for local noticing

113A-3

Case 3:18-bk-01164-JAF
Middle District of Florida
Jacksonville

Tue Apr 24 11151:14 EDT 2018

Eihab H. Tawfik, M.D., P.A.
7394 West Gulf to Lake Highway
Crystal River, FL 34429-7802

Alyouzbaki Tawfik

c/o Joseph C. Crawford, Esq.
50 N Laura St, Ste 2600
Jacksonville, FL 32202-3629

Burr & Foreman, LLP

Attn: Michael S. Waskiewicz
50 North Laura St., Ste 3000
Jacksonville, FL 32202-3658

CHTD Company
PO Box 2576
Springfield, IL 62703-2576

Cassidy Abbott Orr

c/o Jay P. Lechner, Esq.

One Progress Plaza

200 Central Ave., #400

St. Petersburg, FL 33701-4356

Citrus County Tax Collector
210 N. Apopka Ave Ste 100
Inverness FL 34450-4298

Colonial Funding Network
120 West 45th Street
New York, NY 10036-4195

Corporation Service Co.
PO Box 2576
Springfield, IL 62708-2576

Danco Medical, Inc.

c/o Ashley H. Lukis, Esq.
PO Box 11189

Tallahassee, FL 32302-3189

COLONIAL FUNDING NETWORK, INC. as Servicing
c/o Donald R. Kirk

Carlton Fields

P.O. Box 3239

Tampa, FL 33601-3239

IBERIABANK

c/o Michael S. Waskiewicz, Esq.
Burr & Forman LLP

50 N. Laura Street, Suite 3000
Jacksonville, FL 32202-3658

Balboa Capital Corp.
575 Anton Blvd., 12th Floor
Costa Mesa, CA 92626-7169

cAPALL, LLc
122 East 42nd St., Ste. 2112
New York, N¥ 10168-2100

CT Corporation System
Attn: SPRS

330 N. Brand Blvd, Ste 700
Glendale, CA 91203-2336

Central Bank
20701 Bruce B. Downs Blvd
Tampa, FL 33647-3676

Citrus Diabetes Treatment
Center, LLC

7394 W. Gulf to Lake Hwy
Crystal River, FL 34429-7802

Complete Business Solutions
22 North 3rd Street
Philadelphia, PA 19106-2113

Creekridge Capital, LLC
7008 Creekridge Cir. Ste 250
Edina, MN 55439-2647

Dr. Eihab H. Tawfik, MD
7394 West Gulf to Lake Highway
Crystal River, FL 34429-7802

Page 10 of 12

Central Bank

c/o Trenam Law

Megan W. Murray

101 E Kennedy Boulevard, #2700
Tampa, FL 33602-5150

Navitas Credit Corp. f/k/a Navitas Lease Cor
c/o Emanuel & Zwiebel, PLLC

7900 Peters Road

Building B

Suite 100

Plantation, FL 33324-4045

Baytree Nat. Bank & Trust Co
664 N Western Ave.
Laek Forest, IL 60045-1951

CCM Capital Collection Mgmt
115 Solar Street, Suite 100
Syracuse, NY 13204-5407

CT Lien Solutions
PO Box 29071
Glendale, CA 91209-9071

Central Bank

c/o Megan W. Murray, Esq.
101 E Kennedy Blvd, Ste 1700
Tampa, FL 33602-3647

Citrus Diabetes Treatment
Center, LLC

7450 W. Gulf to Lake Hwy
Crystal River, FL 34429

Corporation Service Co.
801 Adlia Stevenson Dr
Springfield, IL 62703-4261

DLI Assets Bravo, LLC
550 N. Brand Blvd. Ste. 2000
Glendale, CA 91203-1935

ELM Services
PO Box 15270
Irvine, CA 92623-5270

CaSe 3218-bk-01164-.]AF DOC 41 Filed 05/01/18

First Coast Service Options
Medicare Part B Overpayment
PO Box 45248

Jacksonville, FL 32232-5248

Fred E. Moore, Esq.
801 11th Street West
Bradenton, FL 34205~8432

Huntington Tech. Finance
2285 Franklin Road
Bloomfield Hills, MI 48302-0364

Key Equipment Finance Inc.
1000 South McCaslin Blvd.
Superior, CO 80027-9441

Macquarie Equipment Finance
2285 Franklin Rd., Ste. 100
Bloomfield Hills, MI 48302-0363

Merchant Cash & Capital LLC
450 Park Ave. S., 11th Floor
New York, NY 10016-7320

Navitas Credit Corp.
P.O. Box 935204
Atlanta, GA 31193-5204

Nicole Richardson

c/o Matthew W. Birk, Esq.
309 NE lst Street
Gainesville, FL 32601-5310

Secretary of the Treasury
15th & Pennsylvania Ave., NW
Washington, DC 20220-0001

SunTrust Bank
Attn: Support Services
P.O. Box 85092
Richmond, VA 23286-0001

First Corporation Solutions
914 S. Street
Sacremento, CA 95811-7025

GE Healthcare

c/o Richard P. Joblove, Esq.
12372 Southwest 82nd Ave.
First Floor

Miami, FL 33156-5223

IberiaBank
PO Box 53207
Lafayette, LA 70505-3207

LiftForward, Inc.

c/o LF Collateral SPV I, LLC
180 Maiden Lane, 10th Floor
New York, NY 10038-5178

McKesson Corporation
401 Mason Road
La Vergne, TN 37086-3243

National Radiology Sol Group
101 Alycia Drive
Richmond, KY 40475-2368

Navitas Credit Corp. f/k/a Navitas Lease Cor
c/o Emanuel & Zwiebel, PLLC

7900 Peters Road

Building B, Suite 100

Plantation, Florida 33324-4045

Pamela Rizzo-Alderson

c/o Jay P. Lechner, Esq.

One Progress Plaza

200 Central Ave., Ste. 400
St. Petersburg, FL 33701-4356

Secured Lender Solutions LLC
PO Box 2576
Springfield, IL 62708-2576

U.S. Securities & Exchange Commission
Office of Reorganization

950 East Paces Ferry Road, N.E.

Suite 900

Atlanta, GA 30326-1382

Page 11 of 12

Florida Dept. of Revenue
Bankruptcy Unit

P.O. Box 6668

Tallahassee, FL 32314-6668

Gurley Vitale, P.A.

Attn: J. Ben Vitale, Esq.
601 S. Osprey Ave.
Sarasota, FL 34236-7526

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Lysoft Media

c/o Colonial Fundinq Network
120 West 45th Street

New York, NY 10036-4195

Medicare Part B Cash Mgmt
c/o First Coast Srvc Options
PO Box 44141

Jacksonville, FL 32231-4141

National Radiology Solutions Group, PLLC
c/o J. Ben Vitale

Vitale Law, P.A.

9040 Town Center Blvd.

Lakewood Ranch, FL 34202-4101

Navitas Lease Corp. ISAOA
111 Executive Dr., Ste. 102
Columbia, SC 29210-8414

Quarterspot Inc.
4601 N Fairfax Dr, Ste 1120
Arlington, VA 22203-1547

Stress Free Capital, LLC
2501 Hollywood Blvd, Ste 210
Hollywood, FL 33020-6632

US Dept of Treasury

Bureau of the Fiscal Service
PO Box 830794

Birmingham, AL 35283-0794

CaSe 3218-bk-01164-.]AF DOC 41 Filed 05/01/18 Page 12 Of 12

US Dept of Treasury
PO Box 979101
St. Louis, MO 63197-9000

Yellowstone Capital, LLC
30 Broad Street

14th Floor, Ste. 1462
New York, NY 10004-2304

United States Trustee - JAX 11 +
Office of the United States Trustee
George C Young Federal Building

400 West Washinqton Street, Suite 1100
Orlando, FL 32801-2210

Eric B Zwiebel +

Eric B Zwiebel, P.A.

Executive Court at Jacoranda

7900 Peters Road, Building B, Suite 100
Plantation, FL 33324-4045

Daniel A Velasquez +

Latham Shuker Eden Beaudine LLP
111 N. Magnolia Avenue

Suite 1400

Orlando, FL 32801-2367

United States Attorney
300 North Hogan St Suite 700
Jacksonville, FL 32202-4204

Yes Funding Services, LLC
c/o Douglas Robinson, Esq.
122 East 42nd St., Ste. 2112
New York, NY 10168-2100

Elena L Escamilia +

Office of the United States Trustee
400 W. Washington Street

Suite 1100

Orlando, FL 32801-2440

Justin M. Luna +

Latham, Shuker, Eden & Beaudine, LLP
P.O. Box 3353

Orlando, FL 32802-3353

J Ben Vitale +

Vitale Law, P.A.

9040 Town Center Parkway
Lakewood Ranch, FL 34202-4101

Vangaurd Medical Mgmt LLC
c/o Jay P. Lechner, Esq.

One Progress Plaza

200 Central Ave., #400

St. Petersburg, FL 33701-4356

Donald R Kirk +
Carlton Fields, P.A.
P.O. Box 3239

Tampa, FL 33601-3239

Michael S Waskiewicz +

Burr & Forman, LLP

50 North Laura Street, Suite 3000
Jacksonville, FL 32202-3658

Megan Wilson Murray +
Trenam Kemker

101 East Kennedy Boulevard
Suite 2700

Tampa, FL 33602-5170

Note: Entries with a ’+' at the end of the
name have an email address on file in CMECF

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Jerry A. Funk
Jacksonville

(d)IBERIABANK

c/o Michael S. Waskiewicz, Esq.
Burr & Forman LLP

50 N. Laura Street, Suite 3000
Jacksonville, FL 32202-3658

(u)National Radiology Solutions Group, PLLC

End of Label Matrix

Mailable recipients 74
Bypassed recipients 4
Total 78

(d)COLONIAL FUNDING NETWORK, INC. as Servicin
c/o Donald R. Kirk

Carlton Fields

P.O. Box 3239

Tampa, FL 33601-3239

